Case 4:20-cv-00447-ALM Document 26-11 Filed 06/14/21 Page 1 of 2 PageID #: 820




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

          Plaintiff,

vs.
                                                   Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED
STATES DEPARTMENT OF
JUSTICE

         Defendant



                                         ORDER

       The Plaintiff’s Motion for In Camera Review (Doc. No. _____) is now before the

Court. The motion is GRANTED as follows:

       Not later than _________, the Defendants shall provide the Court and Plaintiff’s

Couunsel with unredacted copies of all documents that have previously been produced to

the Plaintiff in this case. In future productions, the Defendants shall simultaneously

provide both redacted and unredacted copies to the Court and Plaintiff’s Counsel.

Plaintiff’s Counsel is prohibited from sharing the unredacted copies with anyone else

except co-counsel, and both Plaintiff’s Counsel and any co-counsel are prohibited from

sharing such copies or discussing redacted information with any person or entity other

than the Court and/or opposing counsel. If the Plaintiff wishes to affiliate co-counsel with




                                            -1-
Case 4:20-cv-00447-ALM Document 26-11 Filed 06/14/21 Page 2 of 2 PageID #: 821




the necessary security clearances to review classified information, the Plaintiff shall do so

within _____ days of this order. Thereafter, such co-counsel may review the classified

information withheld by the Defendants, provided that co-counsel does not share nor

discuss the information with any person or entity other than the Court and/or opposing

counsel. Finally, any classified information that has been withheld from the Plaintiff shall

be provided to the Court not later than ________, and any future productions of classified

information shall be provided simultaneously to the Court and to any co-counsel who

holds the property security clearances. As before, any such co-counsel is prohibited from

sharing such copies or discussing classified information with any person or entity other

than the Court and/or opposing counsel.




                                            -2-
